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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                            CRIMINAL ACTION

VERSUS                                              NO: 13-101

MARK MORAD, ET AL.                                  SECTION: R



                             ORDER AND REASONS

       Defendant Mark Morad moves the Court to dismiss the

indictment or, alternatively, to compel production of grand jury

transcripts based on alleged misrepresentations made by the

government to the grand jury.1 He also moves to dismiss the

indictment based on claims of multiplicity and equitable

estoppel.2 The Court addresses these motions in a single order

because they implicate similar factual and legal issues. For the

following reasons, the Court DENIES both of Morad's motions.


I.     BACKGROUND

       On May 14, 2013, this Court unsealed a two-count indictment

against Morad and four other individuals -- Alvin Darby, Barbara

Smith, Demetrias Temple, and Nicole Oliver -- alleging conspiracy

to commit health care fraud in violation of 18 U.S.C. § 1349, and

conspiracy to pay and receive health care kickbacks in violation

of 18 U.S.C. § 371.3



       1
             R. Doc. 51.
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             R. Doc. 52.
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             R. Doc. 1.
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     The indictment charges that Morad was the owner of three

corporations "purportedly engaged in the business of providing

home health services to Medicare beneficiaries."4 Temple and

Oliver allegedly recruited Medicare beneficiaries so that they

could be referred to Morad's providers "for home health services

that were medically unnecessary, and [that] in some cases were

not rendered."5 Darby and Smith, both medical doctors, allegedly

examined the beneficiaries, referred them to Morad's providers,

and executed the necessary paperwork so that Morad could bill

Medicare for the home health services that were either

unnecessary or not rendered at all.6 In return, Morad allegedly

paid kickbacks to Temple and Oliver for each referral and passed

along the Medicare payments for the unnecessary services to Darby

and Smith.7 The indictment also charges that the five defendants

submitted fraudulent claims to Medicare by billing for medically

unnecessary skilled nursing services.8 Between April 2005 and

December 2012, Morad's three providers allegedly billed Medicare

for $49,515,565.90 and were paid $44,792,959.78.9




     4
          Id. at 5-6.
     5
          Id. at 9.
     6
          Id.
     7
          Id.
     8
          Id.
     9
          Id. at 5-6.

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      On August 30, 2013, Morad moved to dismiss the indictment.

On September 19, 2013, the United States filed a superseding

indictment, which added an additional defendant and counts of

money laundering, conspiracy to falsify records in a federal

investigation, and falsification of records in a federal

investigation.10 Counts 1 and 2 of the superseding indictment –-

the counts at issue here –- are essentially unchanged from the

initial indictment.


II.   MOTION FOR PRODUCTION OF GRAND JURY TRANSCRIPTS

      The primary thrust of Morad's motion to dismiss the

indictment, or alternatively for production of grand jury

transcripts,11 is that the government misstated the law in its

instructions to the grand jury. Specifically, Morad argues (1)

that the government provided the grand jury with an erroneous

definition of the word "homebound"; and (2) that the government

erroneously instructed the grand jury regarding the "safe harbor"

provision of the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b),

which provides an exemption from prosecution for payments made by

an employer to an employee "for employment in the provision of

covered items or services."




      10
           R. Doc. 54.
      11
           R. Doc. 51.

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A.     Legal Standard

       Federal Rule of Criminal Procedure 6(e)(3)(E)(ii) permits

the court to "authorize disclosure -- at a time, in a manner, and

subject to any other conditions that it directs –- of a grand

jury matter . . . at the request of a defendant who shows that a

ground may exist to dismiss the indictment because of a matter

that occurred before the grand jury." But grand jury proceedings

are presumptively secret. Fed. R. Crim. P. 6(e); see also Douglas

Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 218 (1979) ("We

consistently have recognized that the proper functioning of our

grand jury system depends upon the secrecy of grand jury

proceedings."); Dennis v. United States, 384 U.S. 855, 869 (1966)

(noting the "long-established policy that maintains the secrecy

of the grand jury proceedings in the federal courts"). And they

enjoy a presumption of regularity. See United States v. Johnson,

319 U.S. 503, 513 (1943). Accordingly, in view of these well-

established presumptions, the party seeking disclosure must show

that a "particularized need" exists for the record. Douglas Oil,

441 U.S. at 223; United States v. Miramontez, 995 F.2d 56, 59

(5th Cir. 1993); see also United States v. R. Enters., Inc., 498

U.S. 292, 300-01 (1991) (presumption of regularity in grand jury

proceedings may be rebutted only by "particularized proof of

irregularities in the grand jury process"); Izen v. Catalina, 256

F.3d 324, 329-330 (5th Cir. 2001) (district court "may properly

order release of grand jury materials where a party demonstrates

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with particularity a 'compelling necessity' for the materials").

Even when disclosure is permitted, it must be done "discretely

and limitedly." Dennis, 384 U.S. at 869 (citing United States v.

Proctor & Gamble Co., 356 U.S. 677, 683 (1958)).

       To meet the burden of demonstrating particularized need, a

defendant must show that (1) the material he seeks is needed to

avoid a possible injustice in another judicial proceeding; (2)

the need for disclosure is greater than the need for continued

secrecy; and (3) his request is structured to cover only material

so needed. Miramontez, 995 F.2d at 59 (citing Douglas Oil, 441

U.S. at 221-22).


B.     Definition of "Homebound"

       Morad's contention that the government erroneously

instructed the grand jury on the meaning of "homebound" is

entirely speculative. Morad simply states that, based on

discovery provided by the United States, "it is apparent that the

Government erroneously believes that a patient cannot leave the

home to qualify for home health services."12 Morad discusses his

interpretation of the word "homebound," then states that "[i]t is

not speculative to presume that the Government did not provide

the grand jury with these clarifications, refinements, and

limitations on the criteria of 'homebound.'"13 Morad's bald


       12
             R. Doc. 51-1 at 2.
       13
             Id. at 5.

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assertion that the United States failed to properly instruct the

grand jury on this subject is insufficient to overcome the

presumption of regularity that attaches to grand jury

proceedings. See Anilao v. Spota, 918 F. Supp. 2d 157, 174

(E.D.N.Y 2013) ("unspecific allegations of need or mere

speculation are not adequate" to show particularized need for

disclosure of grand jury transcripts); United States v.

Chamberlin, No. 09-CR-6169CJS, 2010 WL 1904500, at *4 (W.D.N.Y.

May 12, 2010) ("speculative assertion that the grand jury was

improperly instructed" is "wholly insufficient to overcome the

rule of secrecy in grand jury proceedings"); United States v.

Stein, 429 F. Supp. 2d 633, 639-40 (S.D.N.Y. 2006) (mere

"concern[]" that the government failed to properly instruct the

grand jury on the applicable law, even if based on public

statements made by government attorneys, is "not sufficient to

overcome the 'presumption of regularity' afforded to grand jury

proceedings"); cf. United States v. Ho, No. 08-337, 2009 WL

2591345, at *4-5 (D. Haw. Aug. 20, 2009) (conducting in camera

review of grand jury transcripts after government attorney's on-

the-record comments strongly suggested that his view of the law

contradicted Supreme Court precedent).


C.     The Safe Harbor Provision

       The safe harbor provision is an affirmative defense. United

States v. Robinson, 505 F. App'x 385, 387 (5th Cir. 2013); United


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States v. Job, 387 F. App'x 445, 455 (5th Cir. 2010). The

government is not required to present evidence of affirmative

defenses to the grand jury. United States v. Vasquez, No. 11-26,

2012 U.S. Dist. LEXIS 19927, at *9 (D. Or. Feb. 15, 2012); see

also United States v. Gardner, 860 F.2d 1391, 1395 (7th Cir.

1988). Thus, Morad's claim that the government improperly

instructed the grand jury regarding the safe harbor provision

depends on not one, but two levels of speculation: first, he must

assume that the government described the safe harbor defense to

the grand jury, and second, he must assume that the government

did so incorrectly. Again, Morad points to no real evidence to

support his speculation. Instead, he simply states that his

counsel's conversations with government attorneys has led counsel

to believe that the government's interpretation of the state

harbor provision is erroneous and that the government conveyed

that erroneous interpretation to the grand jury. This bald

assertion is insufficient to show a "particularized need" for

disclosure of grand jury transcripts. See, e.g., Stein, 429 F.

Supp. 2d at 639-40.


D.     Conclusion

       At bottom, Morad's argument with respect to both the

definition of "homebound" and the safe harbor provision appears

to be the following: the United States' evidence is so weak that

it could not possibly have instructed the grand jury correctly


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and still obtained an indictment.14 Cf. United States v.

Williams, 504 U.S. 36, 54 (1992) ("A complaint about the quality

or adequacy of the evidence can always be recast as a complaint

that the prosecutor's presentation was 'incomplete' or

'misleading.'"). But it is black-letter law that

     [a] defendant may not properly challenge an indictment,
     sufficient on its face, on the ground that the
     allegations are not supported by adequate evidence, for
     an indictment returned by a legally constituted and
     unbiased grand jury, if valid on its face, is enough to
     call for trial of the charge on the merits.

United States v. Mann, 517 F.2d 259, 267 (5th Cir. 1975) (citing

Costello v. United States, 350 U.S. 359, 363 (1956)); see also

Williams, 504 U.S. at 54 (noting that "'a challenge to the

reliability or competence of the evidence presented to the grand

jury' will not be heard" (quoting Bank of Nova Scotia v. United

States, 487 U.S. 250, 261 (1988))); United States v. Calandra,

414 U.S. 338, 345 (1974) (same).

     Because Morad has failed to make a sufficient showing that

production of grand jury transcripts is warranted, dismissal of

the indictment is a fortiori unwarranted. See Bank of Nova

Scotia, 487 U.S. at 254 (in order to obtain dismissal of

indictment, defendant must show both that there were errors in

the grand jury proceeding and that the errors prejudiced the



     14
          See R. Doc. 51-1 at 11 ("The Government could not have
given such correct instruction, and presented evidence on
employment, and still have obtained a probable cause
Indictment.").

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defendant). Thus, Morad's first motion must be denied in its

entirety.


III. MOTION TO DISMISS ON GROUNDS OF MULITPLICITY AND EQUITABLE
     ESTOPPEL

       Morad contends that the indictment is multiplicitous because

"the core of Count 1 [conspiracy to commit healthcare fraud],

from Mr. Morad's standpoint, is the alleged payment of

kickbacks," which is the same illegal conduct charged in Count 2

(conspiracy to violate the Anti-Kickback Statute).15 He then

argues that he cannot be prosecuted for the alleged payment of

kickbacks because the government led him to believe that his

actions were covered by the "safe harbor" provision of the Anti-

Kickback statute, 42 U.S.C. § 1320a-7b(b).


A.     Multiplicity

       The Double Jeopardy Clause of the United States Constitution

provides that no person shall "be subject for the same offence to

be twice put in jeopardy of life or limb." U.S. Const. amend. V.

A multiplicitous indictment –- that is, an indictment charging a

single offense in multiple counts -- raises Double Jeopardy

concerns because of the "possibility that the defendant will

receive more than one sentence for a single offense." United

States v. Reedy, 304 F.3d 358, 363 (5th Cir. 2002). When

overlapping statutory provisions create the risk of multiplicity,


       15
             R. Doc. 52-1 at 2.

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"[t]he test for determining whether the same act or transaction

constitutes two offenses or only one is whether conviction under

each statutory provision requires proof of an additional fact

which the other does not." Id. (alteration in original). This

test is derived from the Supreme Court's decision in Blockburger

v. United States, 284 U.S. 299 (1932). Application of the

Blockburger test "focuses on the statutory elements of the

offense," and "[i]f each requires proof of a fact that the other

does not, the Blockburger test is satisfied, notwithstanding a

substantial overlap in the proof offered to establish the

crimes." Albernaz v. United States, 450 U.S. 333, 338 (1981)

(quoting Iannelli v. United States, 420 U.S. 770, 785 n.17

(1975)). When an indictment charges violation of a general

conspiracy statute, the relevant elements of the violation for

purposes of the Blockburger test include the elements of the

specific substantive offense that the defendant has conspired to

commit. United States v. Arlt, 252 F.3d 1032, 1038 (2d Cir. 2001)

("When applying the Blockburger test in a case in which a

defendant is convicted under [18 U.S.C.] § 371, the element that

we must consider is not 'any offense against the United States'

but rather the specific substantive offense that the defendant

has conspired to commit . . . ."); see also Iannelli, 420 U.S. at

785 n.17 (applying this principle in dicta).

     Morad is charged with a violation of two conspiracy

statutes: 18 U.S.C. § 1349 (Count 1), and 18 U.S.C. § 371 (Count

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2). Section 1349 provides that "[a]ny person who attempts or

conspires to commit any offense under this chapter [entitled

"Mail Fraud and Other Fraud Offenses"] shall be subject to the

same penalties as those prescribed for the offense, the

commission of which was the object of the attempt or conspiracy."

The indictment alleges that the defendants violated § 1349 by

conspiring to violate 18 U.S.C. § 1347, which makes it illegal to

"knowingly and willfully execute, or attempt to execute, any

scheme or artifice to defraud any health care benefit program . .

. in connection with the delivery of or payment for heath care

benefits, items or services."

     Section 371, a general conspiracy statute, provides in

relevant part:

     If two or more persons conspire either to commit an
     offense against the United States, or to defraud the
     United States, or any agency thereof in any manner or for
     any purpose, and one or more of such persons do any act
     to effect the object of the conspiracy, each shall be
     fined under this title or imprisoned not more than five
     years, or both.

The indictment alleges that Morad and the other defendants

violated § 371 by conspiring to violate the Anti-Kickback

Statute, 42 U.S.C. § 1320a-7b(b), which criminalizes the payment

or receipt of remuneration for referrals in connection with

federal health care programs.

     Here, the Blockburger test is satisfied. In order to prove

its case with regard to Count 1, the government must show that

Morad conspired with others to "knowingly and willfully execute[]

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. . . a scheme or artifice to defraud a[] health care benefit

program . . . in connection with the delivery of or payment for

health care benefits, items, or services." In order to prove its

case with regard to Count 2, the government must show that Morad

conspired with others to knowingly and willfully pay remuneration

in exchange for patient referrals. Count 1 requires proof that

the defendants endeavored to defraud the Medicare program,

whereas Count 2 does not; similarly, Count 2 requires proof that

the defendants conspired to pay or receive kickbacks in arranging

for items to be reimbursed by Medicare, whereas Count 1 does not.

To put it simply, one can commit fraud against Medicare without

paying kickbacks, and one can pay kickbacks without committing

fraud. Cf. United States v. Ngari, 828 F. Supp. 2d 825, 831-32

(M.D. La. 2011) (holding that an indictment charging conspiracy

to commit healthcare fraud in violation of 18 U.S.C. § 1349 and

conspiracy to pay and receive health care kickbacks in violation

of 18 U.S.C. § 371 was not multiplicitous under Blockburger).

     Morad relies heavily on United States v. Ogba, 526 F.3d 214

(5th Cir. 2008), but that case is inapposite. In Ogba, the

defendant had been convicted under both the health care fraud

statute and the Anti-Kickback Statute. Id. at 232. The Fifth

Circuit explained that, "if [defendant]'s healthcare fraud

conviction were based entirely on proof of his receipt of

kickbacks, which he did dishonestly, then a conviction for

illegal remuneration is a lesser included offense of healthcare

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fraud." Id. at 234. In such a scenario, a conviction for both

illegal remuneration and healthcare fraud would violate the

Double Jeopardy Clause. Because the trial court had employed a

general verdict form that did not allow the appellate court to

determine whether the healthcare fraud conviction was based

entirely on the evidence relating to kickbacks, the Fifth Circuit

"could not with the requisite certainty say" that the defendant's

two convictions were constitutionally permissible. Id. at 236.

     Here, in contrast, Count 1 of the indictment alleges that

Morad took actions besides paying kickbacks -- paying Smith and

Darby for medical assessments and home visits (payments not

classified as kickbacks) in return for their fraudulently

certifying patients as eligible for home health services that

were not medically necessary or not performed and submitting

fraudulent claims for skilled nursing services that were not

medically necessary or not performed -- in order to effectuate

the conspiracy to commit healthcare fraud. Moreover, the

conspiracy alleged in Count 1 was designed to do much more than

facilitate the payment of kickbacks to Temple and Oliver; Morad's

corporations profited millions from the scheme. In other words,

Count 1 is not "based entirely" on allegations of violations of

the Anti-Kickback Statute. Furthermore, Count 2 (the kickback

conspiracy count) does not name the doctors, but names only

Morad, Temple, and Oliver, and states that the purpose of the

conspiracy was to pay and receive illegal kickbacks and bribes in

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exchange for providing Medicare beneficiary information that was

used to submit claims to Medicare. Thus, Ogba, which involved a

challenge to a conviction based on a general verdict, is

inapposite. Ogba did not implicate the indictment. Its holding

can be addressed simply by directing the jury to identify the

theory or theories of Medicare fraud it relies on if it reaches a

verdict of guilty on Count 1. The indictment is not

multiplicitous.


B. Equitable Estoppel

     The Fifth Circuit has described the doctrine of equitable

estoppel as follows:

     The defense of entrapment by estoppel is applicable when
     a government official or agent actively assures a
     defendant that certain conduct is legal and the defendant
     reasonably relies on that advice and continues or
     initiates the conduct. Cox v. Louisiana, 379 U.S. 559
     (1965) (convictions for demonstrating near courthouse
     reversed where highest police officials of city, in
     presence of sheriff and mayor, gave demonstrators
     permission to picket across the street from courthouse);
     Raley v. Ohio, 360 U.S. 423 (1959) (convictions for
     failure to testify reversed because inquiring body told
     defendants they could invoke Fifth Amendment). The
     defense is a narrow exception to the general rule that
     ignorance of the law is no excuse and is based on
     fundamental fairness concerns of the Due Process Clause.
     The focus of the inquiry is on the conduct of the
     government not the intent of the accused.

United States v. Spires, 79 F.3d 464, 466 (5th Cir. 1996)

(citation omitted) (emphasis added).

     The doctrine of equitable estoppel is not applicable to this

case because Morad has pointed to no evidence that he was


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"actively assured" by a government actor that his conduct was

legal. Cf. United States v. Pa. Indus. Chem. Corp., 411 U.S. 655,

673-74 (1973) (defendant entitled to introduce evidence showing

that it was "affirmatively misled by the responsible

administrative agency into believing that the law did not apply"

to the defendant's conduct) (emphasis added); Cox, 379 U.S. at

571; Raley, 360 U.S. at 437-38. Insofar as Morad purports to

argue that he honestly but erroneously thought that the safe

harbor provision applied to his conduct in this case, that

argument fails in light of "the general rule that ignorance of

the law is no excuse." Spires, 79 F.3d at 466.

     Accordingly, Morad's second motion must be denied.


IV. CONCLUSION

     For the foregoing reasons, the Court DENIES both of the

motions under consideration.


                                   8th day of January, 2014.
      New Orleans, Louisiana, this __



                 _________________________________
                           SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




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